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                                                                        GOVERNMENT
                                                                          EXHIBIT
                                                                           1

                                                                    I
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     Allorneys for the United Stales ofAmerica
 7
                             IN T'HE UNITED STATES DISTRICT COURT
 8
                             FOR THE NORTHERN MARIANA ISLANDS
9
      UNITED STATES OF AMERICA.                  CIVIL CASE NO.
10
              PlainlilT,
11            vs.

12    S271.087.88 IN U.S. CURRENCY SEIZED
      FROM BANK OF SAIPAN ACCOUNT NO.            WARRANT OF ARl^ST JN REM
      ENDING IN LAST FOUR DIGITS 0157.
      HELD IN THE NAME OF ‘^MCS”; and
14    $39,188.38 IN U.S. CURRENCY SEIZED
      FROM BANK OF SAIPAN ACCOUNT NO.
15    ENDING IN LAST FOUR DIGITS 2098.
      HELD IN THE NAME OF ‘'MCS^^
16
               Defendants.
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 1   TO:     UNITED STATES MARSHALS SERVICE and/or ANY OTHER DULY
             AUTHORIZED LAW ENFORCEMENT OFFICER
 2

 3           WFIEREAS, on December 30, 2022, the United States of America filed a Verified

 4   Complaint for Forfeiture In Rem in the United States District Court for the Northern Mariana

 5   Islands against the above-captioned defendant properties, alleging that the defendant properties

6    are subject to seizure and civil forfeiture to the United States for the reasons set out in the Verified

 7   Complaint for Forfeiture In Rem; and

             WFIEREAS, the defendant properties are currently in the possession, custody, and control

9    of the United States; and

10           WHEREAS, in these circumstances, Rule G(3)(b)(i) of the Federal Rules of Civil

11   Procedure, Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions,

12   (hereinafter referred to as the “Supplemental Rules''), directs the Clerk of the Court to issue a

13   Warrant of Arrest in Rem for the defendant properties; and

14           WHEREAS,Supplemental Rule G(3)(c)(i) provides that the Wan-ant of AiTest in Rem must

15   be delivered to a person or organization authorized to execute it who may be a marshal or any

16   other United States officer or employee, someone under contract with the United States, or

17   someone specially appointed by the Court for that purpose.

18          NOW THEREFORE, YOU ARE HEREBY COMMANDED to arrest and take into your

19   possession the above-captioned defendant properties as soon as practicable by serving a copy of

20   this Warrant on the custodian in whose possession, custody, or control the defendant properties

21   are presently found, and to use whatever means may be appropriate to protect and maintain it in

22   your custody until further order of this Court.

23          YOU ARE FURTHER COMMANDED, promptly after execution of this process, to file

24   the Return on Warrant of Arrest in Rem, identifying the individual(s) upon whom copies of the

     WARRANT OF ARREST IN REM
                                                        1
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 1   Warrant of Arrest in Rem was served and the manner employed.

 2          IN WITNESS WHEREOF, I, Clerk of the United States District Court for the Northern

     Mariana Islands, have caused the foregoing Warrant of Arrest in Rem to be issued pursuant to the

4    authority of Supplemental Rule G(3)(b)(i) and the applicable laws of the United States.

 5          Dated:

6
                                                 CLERK OF I HE COURT
7                                                United States District Court



                                          By;
9                                                Deputy Clerk

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     WARRANT OF ARREST IN REM
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